             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:13-cr-00009-MR-DLH-8


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                           ORDER
                                 )
CARLOS LOPEZ,                    )
                                 )
                   Defendants.   )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Indictment [Doc. 518].

     Upon review of the Government’s motion, and for cause shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 518] is GRANTED, and the Bill of Indictment in the above-

captioned case, as it relates to the Defendant Carlos Lopez only, is hereby

DISMISSED WITHOUT PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, the U.S. Marshals Service, and the U.S. Probation Office.

     IT IS SO ORDERED.           Signed: October 24, 2016




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